     Case 8:25-bk-10282-SC         Doc 12 Filed 02/11/25 Entered 02/11/25 10:26:17          Desc
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 3
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 5     E-mail: CDCAECF@BDFGROUP.COM
       FILE NO. 10382869
 6
       Attorneys for Movant
 7
       U.S. BANK NATIONAL ASSOCIATION,
 8     NOT IN ITS INDIVIDUAL CAPACITY
       BUT SOLELY AS TRUSTEE ON BEHALF
 9     OF GCAT 2022-NQM5 TRUST
10

11                          UNITED STATES BANKRUPTCY COURT
                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
12
       In re:                                              CASE NO.:    8:25-bk-10282-SC
13     COAST HIGHWAY RAMFARED TRUST,                       CHAPTER:     7
       dba Ramin Monfared
14
                                                           AMENDED NOTICE OF HEARING
15                                                         ON MOTION FOR RELIEF FROM
                                                           THE AUTOMATIC STAY
16                       Debtor.
                                                           DATE:        March 5, 2025
17                                                         TIME:        10:00 am
18                                                         PLACE:       Courtroom 5C
                                                                        411 West Fourth Street
19                                                                      Santa Ana, CA 92701

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22            TO ALL INTERESTED PARTIES ENTITLED TO NOTICE:

23            PLEASE TAKE NOTICE that the hearing on Movant U.S. BANK NATIONAL

24     ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS TRUSTEE ON
25     BEHALF OF GCAT 2022-NQM5 TRUST’s Motion for Relief from the Automatic Stay filed on
26
       February 10, 2025 as Docket No. 9 in the above-captioned matter will be heard before the Honorable
27
       SCOTT C. CLARKSON, on March 5, 2025 at 10:00 am in Courtroom 5C of the United States
28


                                                       1
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 1     Bankruptcy Court for the Central District of California, located at 411 West Fourth Street, Santa Ana,

 2     CA 92701.
 3
                                                             BARRETT DAFFIN FRAPPIER
 4                                                           TREDER & WEISS, LLP

 5     DATE: February 11, 2025                     By:       /s/ Darlene C. Vigil
                                                             DARLENE C. VIGIL
 6                                                           Attorneys for Movant
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        Case 8:25-bk-10282-SC                      Doc 12 Filed 02/11/25 Entered 02/11/25 10:26:17                                     Desc
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                                         PROOF OF SERVICE OF DOCUMENT


I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3990 E. CONCOURS STREET SUITE 350, ONTARIO, CA 91764

A true and correct copy of the foregoing document entitled (specify): AMENDED NOTICE OF HEARING ON MOTION
FOR RELIEF FROM THE AUTOMATIC STAY will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/11/2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

U.S. Trustee/(Santa Ana ): ustpregion16sa.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 2/11/2025, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Judge Hon. Scott C. Clarkson, U.S. Bankruptcy Court, 411 West Fourth Street, Suite 5130, Santa Ana, CA 92701
Debtor: Coast Highway Ramfared Trust, 31423 Coast Hwy #22, Laguna Beach, CA 92651
Mortgagor: Ramin Monfared, 31423 Coast Highway #22, Laguna Beach, CA 92651
Petitioning Creditor: Andy Andalibian, PO Box 9933, Newport Beach, CA 92660
Interested Party: Ramin Monfared, Trustee of the Coast Highway Ramfared Trust dated November 28, 2022,
     31423 Coast Hwy #22, Laguna Beach, CA 92651
Interested Party: Ramin Monfared, as Trustee of the Ramin Monfared Trust dated December 9, 2021, 31423 Coast Hwy
      #22, Laguna Beach, CA 92651
Interested Party: Greg Tonkinson, Trustee of the Coast Highway Ramfared Trust, 31423 Coast Hwy #22, Laguna Beach,
      CA 92651


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/11/2025                            DARLENE C. VIGIL                                          /s/ Darlene C. Vigil
 Date                                  Type Name                                                Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
